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     EXHIBIT B
           Declaration of Robert Ziems




     EXHIBIT B
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                                 17
                                                                UNITED STATES DISTRICT COURT
                                 18                                   DISTRICT OF NEVADA
                                 19 UNIVERSAL ENTERTAINMENT                         Case No.: 2:18-cv-00585-RFB-GWF
                                    CORPORATION, a Japanese corporation,
                                 20                    Plaintiff,                   DECLARATION OF ROBERT ZIEMS,
                                    v.                                              ESQ., IN SUPPORT OF DEFENDANT
                                 21 ARUZE GAMING AMERICA, INC. a Nevada             ARUZE GAMING AMERICA, INC.’S
                                    corporation, KAZUO OKADA, an individual,        OPPOSITION TO UNIVERSAL
                                 22                    Defendants.                  ENTERTAINMENT CORP.’S MOTION
                                                                                    TO COMPEL PRODUCTION OF RSM
                                 23                                                 DOCUMENTS
                                 24 ARUZE GAMING AMERICA, INC., a Nevada
                                    corporation, KAZUO OKADA, an individual,
                                 25                    Counter-Claimants,
                                    v.
                                 26 UNIVERSAL ENTERTAINMENT
                                    CORPORATION, a Japanese corporation,
                                 27 ARUZE USA, a Nevada corporation, and JUN
                                    FUJIMOTO, an individual,
                                 28                    Counter-Defendants.
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                                  1           I, Robert Ziems, Esq., declare as follows:
                                  2           1.        I am over eighteen years of age and competent to testify to the facts stated herein,
                                  3    which are based on personal knowledge unless stated otherwise, and if called upon to testify, I
                                  4    could and would testify competently to the following.
                                  5           2.        I am currently the President, Secretary, and Global Chief Legal Officer for Aruze
                                  6    Gaming America, Inc. (“AGA”), Defendant/Counter-Claimant in the above-captioned matter.
                                  7    Previously from 2012-2015, I served as AGA’s General Counsel.
                                  8           3.        I submit this declaration in support of AGA’s Opposition to Universal
                                  9    Entertainment Corporation’s Motion to Compel Production of RSM Documents (the
                                 10    “Opposition”).
                                 11           4.        On June 25, 2013, AGA and accounting firm RSM McGladrey (“RSM”) executed
                                 12    a Master Services Agreement, which provided the framework for future tax consulting work for
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                                 13    which AGA would engage RSM. Specifically, the MSA provided that AGA would, from time
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                                 14    to time, identify tax services desired to be performed by RSM and authorize the performance of
                                 15    such services on a project-by-project basis, pursuant to separate statements of work.
                                 16           5.        Shortly after execution of the MSA, AGA and RSM executed three statements of
                                 17    work, pursuant to which RSM would provide tax consulting services in connection with the
                                 18    global restructure of AGA’s business.
                                 19           6.        Pursuant to Statement of Work Number 1, RSM was to (1) determine the value
                                 20    of the intellectual property to be used by Aruze Gaming Hong Kong (“AGHK”) in the corporate
                                 21    restructure, and (2) complete the transfer pricing documentation for U.S. income tax purposes
                                 22    on the intellectual property transfer based on the actual structure and business operations
                                 23    established. This Statement of Work was revised on or about December 10, 2014. A true and
                                 24    correct copy of Revised Statement of Work Number 1 is attached to the Opposition as Exhibit
                                 25    C.
                                 26           7.        A true and correct copy of Statement of Work Number 2, pursuant to which RSM
                                 27    would “assist [AGA] with a transfer pricing benchmarking analysis for application to routine
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                                  1    functions performed by the Company’s affiliates worldwide,” is attached to the Opposition as
                                  2    Exhibit D.
                                  3           8.      A true and correct copy of Statement of Work Number 3, pursuant to which RSM
                                  4    would “assist [AGA] with the global restructuring by developing one or more strategies,”
                                  5    including “conduct[ing] research of U.S. tax laws as well as foreign tax laws where appropriate,”
                                  6    and “work[ing] with [AGA] to ensure that the strategy or strategies we develop are suitable to
                                  7    the current business needs and future business plans of [AGA],” is attached to the Opposition as
                                  8    Exhibit E.
                                  9           9.      A true and correct copy of Statement of Work Number 8, which related to the
                                 10    global restructure and pursuant to which RSM would “assist [AGA] in determining the Branch
                                 11    Recapture Limitation,” concerning the transfer of AGA’s Japan research and development
                                 12    branch to Aruze Software, K.K., is attached to the Opposition as Exhibit F.
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                                 13           10.     In or about December 2014, the parties executed Statement of Work Number 10,
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                                 14    pursuant to which RSM would “assist [AGA] with a transfer pricing benchmarking analysis
                                 15    refresh for application to intercompany transactions related to routine functions performed by
                                 16    the Company’s affiliates worldwide[.]” AGA has been unable to locate a copy of Statement of
                                 17    Work Number 10 and has requested a copy of the same from RSM. At the time of the filing of
                                 18    the Opposition, RSM has not been able to provide a copy of Statement of Work Number 10.
                                 19           11.     A true and correct copy of Statement of Work Number 11, pursuant to which
                                 20    RSM would continue to assist in restructuring AGA’s global supply chain by, among other
                                 21    things, performing technical analysis and recommendations relating to the transfer of intellectual
                                 22    property and transfer of shares, is attached to the Opposition as Exhibit G.
                                 23           12.     As then-General Counsel of AGA, I led the global restructuring project and
                                 24    provided legal advice to AGA regarding the same. Because the transaction at issue was an
                                 25    international intercompany transaction, it was necessary for me to obtain professional advice
                                 26    regarding transfer pricing and domestic and foreign tax strategy. AGA therefore engaged RSM
                                 27    to provide tax consulting services to assist me in my provision of legal advice to the company.
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                                  1            13.    RSM’s work included assisting in obtaining valuation of AGA’s intellectual
                                  2    property, completion of transfer pricing documentation for U.S. income tax purposes, assisting
                                  3    with a transfer pricing benchmarking analysis, assisting in determining branch recapture
                                  4    limitations, and performing technical analysis and recommendations relating to the transfer of
                                  5    intellectual property and the transfer of shares. In sum, RSM performed complex quantitative
                                  6    analyses and extensive information gathering that was beyond my resources and abilities, but
                                  7    uniquely within RSM’s qualifications.
                                  8            14.    I considered at the time, and still consider today, that RSM’s services were
                                  9    necessary to my ability to render legal advice to AGA regarding its global restructure. I relied
                                 10    on the advice received from RSM to provide legal advice to AGA in effectuating its global
                                 11    restructure.
                                 12            Executed on this 13th day of October, 2022.
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                                                                                       /s/ Robert Ziems
                                 15                                                   ROBERT ZIEMS
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